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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

Steven Laine,                                   Case No. 2:10-cv-14318-LPZ-MJH

         Plaintiff,

v.                                                   NOTICE OF DISMISSAL WITH
                                                            PREJUDICE
Zenith Acquisition Corporation,

         Defendant.

         Now comes Plaintiff, through counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),

hereby dismisses the present action with prejudice. This notice is being filed before Defendant

has served an answer and therefore is appropriate for dismissal absent stipulation by all parties.



                                              RESPECTFULLY SUBMITTED,

                                              Legal Helpers, P.C.
                                              Attorneys for Plaintiff

                                              By: s/Timothy J. Sostrin
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 14, 2011, I served Defendant with the foregoing Notice

by U.S. mail addressed as follows:

Mel S. Harris & Associates, P.C.
Arthur Sanders
5 Hanover Square, 8th Floor
New York, NY 10004
                                                       /s/ Timothy J. Sostrn




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